Case 3:16-cv-01412-BEN-MDD Document 422 Filed 06/04/19 PageID.10460 Page 1 of 2



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     8                    IN THE UNITED STATES DISTRICT COURT
     9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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    11 THE ESTATE OF RUBEN NUNEZ by                   CASE NO.: 16-cv-1412-BEN-MDD
       and through its successor-in-interest
    12 LYDIA NUNEZ, ALBERT NUNEZ,                     ORDER OF DISMISSAL OF
       and LYDIA NUNEZ                                DR. JORGE NARANJO
    13
                             Plaintiffs,              ASSIGNED FOR ALL PURPOSES TO:
    14      v.                                        JUDGE: HON. ROGER T. BENITEZ
                                                      MAG. JUDGE: HON MITCHELL D. DEMBIN
    15 COUNTY         OF   SAN   DIEGO,               Complaint Filed:               06/08/16
       WILLIAM GORE in his individual
    16 capacity;    BRUCE LEICHT, an                  FAC Filed:                     08/30/16
                                                      Third-Party Complaint Filed:   12/12/16
       individual; ALFRED JOSHUA, an
    17 individual; HARRY OREOL, an                    SAC Filed:                     07/13/17
                                                      Trial Date:                    06/10/19
       individual; KAYLA FISHER, an
    18 individual; MARCY MOON, an
       individual, and DOES 1-50
    19
                                Defendants.
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         COUNTY         OF     SAN       DIEGO,
         WILLIAM GORE, in his individual
    22
         capacity; BRUCE LEICHT, an
         individual; and ALFRED JOSHUA, an
    23
         individual;
                        Third-Party Plaintiffs,
    24         v.
    25   CORRECTIONAL             PHYSICIANS
         MEDICAL GROUP, INC., a California
    26   Corporation; JORGE NARANJO, an
         individual; and SARA HANSEN, an
    27   individual; and ROES 1 - 10,
    28
                      Third-Party Defendants.

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                             ORDER OF DISMISSAL OF DR. JORGE NARANJO
Case 3:16-cv-01412-BEN-MDD Document 422 Filed 06/04/19 PageID.10461 Page 2 of 2



     1         Pursuant to the Oral Motion to Dismiss party Dr. Jorge Naranjo granted at
     2   the Final Pre-Trial Conference held on May 31, 2019, it is hereby ordered that
     3   Dr. Jorge Naranjo is dismissed with prejudice from all claims and causes of action,
     4   with each party to bear its own attorney’s fees and costs.
     5         IT IS SO ORDERED.
         Dated: June 3, 2019
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                               ORDER OF DISMISSAL OF DR. JORGE NARANJO
